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UNITED STATES. DIS'I`RICT COURT
DISTRICT OF l\-/IASSACHUSETTS

 

JUDITH SHAULIS,
Plaintiff,

CIVIL ACTION NO. l5-cv-10326-FDS
NORDSTROM, Inc., d/b/a

Nordstrom RACK,
Defendant,

 

NOTICE !DF APPEAL
Now comes the Plaintii"f, Judith Shauli:;, on her behalf, and on behalf of the class Which
She represents, and files this Notice ol`Appeal ];)ursuant to the Rules. The items appealed are:

l. Order and l\/lemc)randuna Of the Honorable F. Dennis Saylor dated 8~14-2015,
being (Docket NO. 31,) and Order Of Dismissal dated 8~14-2015 (Dc)cl<et No. 32)_

2. Order Of Judge F. Dennis Saylo_r' dated 1045-2015 denying Plaintifl”$ l\/lotion to
Reconsider, and Plaintifl’ S Motion to Arnend the Cornplaint and further Plaintifl"S Motic)n to
Have the Question§ Certif`ied to the First Circuit (All collectively Dc)cket Entry Nc). 37).

Respectfully Submitted,

Da@a this 22nd day af chber, 2015.

/S/ S¢ameé Z’M’€, gdgi

 

S.. J ames Boumil, Esq.

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Co-Counsel for the Plaintiff and the ClaSS

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CERTIFICATE OF SERVICE

I, S. J ames Bouinil, hereby certify that this document filed through the ECF Sj.'s'::..: :T::;.
Will be sent electronically to the registered participant’s as identified on the no:: _;`
electronic filing and paper copies Will be sent to those (if any) indicated as non-regis:e:::
participants as ofthe date hereof

 

Dated this 22nd day of October 2015.

/S/ $, gamez Z?ML’. Zaq.
S. lanies Bouniil, Esq.

